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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                   )
    In re:                                                         ) Chapter 7
                                                                   )
    ALEXANDER E. JONES,                                            ) Case No. 22-33553 (CML)
                                                                   )
                               Debtor.                             )
                                                                   )

                     TEXAS PLAINTIFFS’ RESPONSE TO JONES’S
             SUPPLEMENTAL CONSOLIDATED PROOFS OF CLAIM OBJECTION

             The Texas Plaintiffs,1 as creditors and parties in interest in the above-captioned case, file

this response (the “Response”) to the Debtor’s Supplement to the Consolidated Objection to Proofs

of Claim Filed by Texas Plaintiffs [Dkt. No. 1066] (the “Supplemental Claim Objection”).2 In

support hereof, the Texas Plaintiffs respectfully state as follows:

             1.      On August 15, 2024, this Court entered the Stipulation and Agreed Order Abating

the Deadline to Respond to the Debtor’s Consolidated Objection to Proofs of Claim Filed by Texas

Plaintiffs [Dkt. 814] (the “Abatement Stipulation”), pursuant to which the Debtor, Texas Plaintiffs,

and Chapter 7 Trustee agreed that the deadline for the Texas Plaintiffs “to respond to the Claim

Objection shall be abated until the earlier of fourteen (14) days after (1) the completion of appeals

in the above-captioned chapter 7 proceeding, including all adversary proceedings, or (2) the Parties

reach a settlement regarding the Texas Plaintiffs’ claims.”3 Because the Supplemental Claim




1
             The “Texas Plaintiffs” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the
             Estate of Marcel Fontaine.
2
             The Supplemental Claim Opposition amends the Consolidated Objection to Proofs of Claim Filed By the
             Texas Plaintiffs filed by the Debtor on June 13, 2024 [Dkt. 704] (the “Claim Objection”).
3
             Abatement Stipulation ¶ 2.
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Objection amends the Claim Objection and neither of the two enumerated events triggering the

response deadline have occurred, the agreed-upon abatement of the deadline to respond to the

Debtor’s Claim Objection applies in equal force to the Supplemental Claim Objection and such

abatement remains in effect as of the date of this Response.

       2.      The automatic stay pursuant to section 362(a) of title 11 of the United States Code

applicable to the Texas Plaintiffs’ respective actions pending against the Debtor in Texas state

court has lifted,4 and accordingly, the Texas Plaintiffs intend to continue liquidating their claims

in the Texas state court and defending the appeals with respect to such claims. Accordingly, the

Texas Plaintiffs submit that the Texas state court is the appropriate forum to adjudicate their claims

against the Debtor.

       3.      The Texas Plaintiffs request that the Supplemental Claim Objection be denied to

the extent that the Debtor seeks to disallow the claims of the Texas Plaintiffs while such claims

are pending in the Texas state court.

                                        PRAYER FOR RELIEF

       4.      The Texas Plaintiffs respectfully request that the Court overrule the Supplemental

Claim Objection and grant further relief as it deems appropriate.




4
       The automatic stays applicable to the Texas Plaintiffs’ state court actions were lifted as follows: (i) on
       December 19, 2022 with respect to proceeding to entry of final judgment and any appeal in the Heslin/Lewis
       action (styled as Neil Heslin and Scarlett Lewis v. Alex E. Jones and Free Speech Systems, LLC, Cause No.
       D-1-GN-18-001835, in the 261st District Court of Travis County, Texas) pursuant to the Agreed Order
       Modifying the Automatic Stay [Dkt. No. 58]; (ii) on February 5, 2024 at 12:01 am (CST) with respect to the
       commencement of trial in the Fontaine action (styled as Marcel Fontaine v. Alex E. Jones, Infowars, LLC,
       Free Speech Systems, LLC, and Kit Daniels, Cause No. D-1-GN-18- 001605, in the 459th District Court for
       Travis County, Texas) pursuant to the Joint Notice Regarding Agreed Order on Debtors’ Motion for
       Approval of Compromise and Settlement Under Federal Rule of Bankruptcy Procedure 9019 [Dkt. No. 462];
       and (iii) on October 1, 2024 at 12:01 am (CST) with respect to the commencement of trial in the Pozner/De
       La Rosa Action (styled as Leonard Pozner and Veronique De La Rosa v. Alex E. Jones, Infowars, LLC, and
       Free Speech Systems, LLC, Cause No. D-1-GN-18- 001842, in the 345th District Court of Travis County,
       Texas) pursuant to Joint Notice Regarding Agreed Order on Debtors’ Motion for Approval of Compromise
       and Settlement Under Federal Rule of Bankruptcy Procedure 9019 [Dkt. No. 610].

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Dated: March 6, 2025
                                Respectfully submitted,

                                /s/ Jennifer J. Hardy
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                                Co-Counsel to the Texas Plaintiffs




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on all parties
registered to receive electronic notice through the Court’s CM/ECF system on March 6, 2025.

                                                      /s/ Jennifer J. Hardy




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